

People v Melendez (2023 NY Slip Op 00623)





People v Melendez


2023 NY Slip Op 00623


Decided on February 3, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 3, 2023

PRESENT: WHALEN, P.J., SMITH, LINDLEY, CURRAN, AND BANNISTER, JJ. (Filed Feb. 3, 2023.) 


MOTION NO. (672/21) KA 19-01175.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vVICTOR VAZQUEZ MELENDEZ, DEFENDANT-APPELLANT. (APPEAL NO. 1.)



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








